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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )             CASE NO. 8:14CR371
                                              )
              Plaintiff,                      )
                                              )
              vs.                             )            TENTATIVE FINDINGS
                                              )
ESTHER C. DURHAM,                             )
                                              )
              Defendant.                      )

       The Court has received the Revised Presentence Investigation Report and

Addendum (“PSR”) and the Defendant’s objections and request for a downward departure

or variance (Filing No. 90). The government has not objected to the PSR. See Amended

Order on Sentencing Schedule, ¶ 6. The Court advises the parties that these Tentative

Findings are issued with the understanding that, pursuant to United States v. Booker, 543

U.S. 220 (2005), the sentencing guidelines are advisory.

       Accordingly,

       IT IS ORDERED:

       1.     The Defendant’s Objections to PSI (Filing No. 90) will be heard at the

sentencing hearing;

       2.     The Court intends to adopt the PSR in all other respects;

       3.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary
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hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       4.     Absent submission of the information required by paragraph 3 of this Order,

these tentative findings are final;

       5.     The Defendant’s Motion for Downward Departure of Variance (also Filing No.

90) will be heard at sentencing; and

       6.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 26th day of August, 2015.

                                          BY THE COURT:



                                          s/Laurie Smith Camp
                                          Chief United States District Judge




                                               2
